          Case 6:14-cv-01295-JR          Document 214    Filed 05/21/18   Page 1 of 4




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                                   UNITED STATES DISTRICT COURT

                                       DISTRICT OF OREGON

                                       EUGENE DIVISION


DYNAMIC MEASUREMENT GROUP, INC.,                                 Case No. 6:14-cv-01295-JR
an Oregon corporation,
                                                        STIPULATED JOINT STATUS REPORT

                  Plaintiff,

       vs.

UNIVERSITY OF OREGON, a public
university; MIA TUAN, individually and in her
official capacity; EDWARD J. KAME’ENUI,
individually and in his official capacity;
FRANCIS J. FIEN IV, a/k/a Hank Fien,
individually and in his official capacity; BRAD
SHELTON, individually and in his official
capacity; and HOP SKIP


STIPULATED JOINT STATUS REPORT – Page 1
4853-2165-0534v.1 0083462-000015
             Case 6:14-cv-01295-JR       Document 214     Filed 05/21/18     Page 2 of 4




TECHNOLOGIES, INC., an Oregon corporation,
                 Defendants.

UNIVERSITY OF OREGON, a public university,

                 Counter-Claimant,

       vs.

DYNAMIC MEASUREMENT GROUP, INC.,
an Oregon corporation; ROLAND GOOD,
individually; and RUTH KAMINSKI,
individually,

                   Counter-Defendants.



        Plaintiff and Counter-Defendant Dynamic Measurement Group, Inc.; Counter-

Defendants Dr. Ruth Kaminski and Dr. Roland Good; Defendant and Counter-Claimant

University of Oregon; Defendants Mia Tuan, Edward Kame’enui, Francis J. Fien IV, and Brad

Shelton; and Defendant Hop Skip Technologies Inc. (collectively, the “Parties”) hereby submit

the following statement in follow-up to their Joint Status Report dated April 30, 2018

(Docket 212).

        The parties have continued to negotiate and confer in good faith regarding a settlement

and are very close to reaching a negotiated settlement. At this juncture, most of the substantive

issues between Plaintiff and Defendants have been worked out, but there remain a very small

number of issues among Plaintiff Dynamic Measurement Group (“DMG”) and its licensees,

Amplify Education, Inc. (“Amplify”) and Cambium Education Group (“Cambium”), which are

necessary for the overall settlement agreement. DMG and Amplify have been in particularly

intense negotiations over the last few weeks and progress is being made in addressing these

last remaining issues.


STIPULATED JOINT STATUS REPORT – Page 2
4853-2165-0534v.1 0083462-000015
           Case 6:14-cv-01295-JR         Document 214       Filed 05/21/18     Page 3 of 4




         Due to the confidential nature of the parties’ ongoing negotiations, the parties

respectfully request that the Court order a telephonic status conference in early June with Judge

Simon.


         DATED this 21st day of May, 2018.

                                               GLEAVES SWEARINGEN LLP


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STIPULATED JOINT STATUS REPORT – Page 3
4853-2165-0534v.1 0083462-000015
           Case 6:14-cv-01295-JR   Document 214    Filed 05/21/18   Page 4 of 4




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STIPULATED JOINT STATUS REPORT – Page 4
4853-2165-0534v.1 0083462-000015
